      Case 2:11-cr-00119-WBS Document 295 Filed 05/23/17 Page 1 of 4


1

2

3

4

5

6

7

8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
10
                                  ----oo0oo----
11

12   UNITED STATES OF AMERICA,            CR. NO. 2:11-0119-6 WBS
13                Plaintiff,              ORDER RE: MOTION TO REDUCE
                                          SENTENCE PURSUANT TO 18 U.S.C. §
14        v.                              3582(c)(2)
15   REBECCA GUZMAN,
16                Defendant.
17

18                                ----oo0oo----

19             Before the court is defendant Rebecca Guzman’s Motion1

20   for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2)

21   (“section 3582(c)(2)”) and Amendment 782 to the United States

22   Sentencing Guidelines (“Guidelines”).       (Def.’s Mot. (Docket No.

23   271).)

24             On April 20, 2012, defendant entered into a plea

25   agreement with the government whereby she agreed to plead guilty

26        1
               Defendant filed her Motion pro se. Defendant’s
27   appointed counsel has notified the court that she will not file
     an amended motion or supplemental brief on defendant’s behalf.
28   (Docket No. 293.)
                                     1
      Case 2:11-cr-00119-WBS Document 295 Filed 05/23/17 Page 2 of 4


1    to one count of conspiracy to distribute and possess with intent

2    to distribute at least 500 grams of methamphetamine, at least 5

3    kilograms of cocaine, and marijuana in violation of 21 U.S.C. §§

4    846 and 841(a)(1).    (Plea Agreement (Docket No. 95).)           The plea

5    agreement provided “that a specific sentence of 168 months in

6    prison would be appropriate in [defendant’s] case.”          (Id. at 2.)

7              On September 10, 2012, the United States Probation

8    Office issued a presentence report (“PSR”) in defendant’s case.

9    The PSR recommended an offense level of 37 and criminal history

10   category of III, and a resulting Guidelines sentencing range of

11   262 to 327 months, for defendant.

12             On October 1, 2012, the court held a sentencing hearing

13   for defendant.    (Oct. 1, 2012 Tr. (Docket No. 294).)        At the

14   hearing, the court found that an offense level of 35 and criminal

15   history category of III were applicable to defendant,2 and noted

16   that defendant’s sentencing range under the Guidelines was 210 to

17   262 months.   (Id. at 7-8, 15.)     Based on the factors listed in 18

18   U.S.C. § 3553(a), the court imposed a sentence of substantially

19   less than called for by the Guidelines, and sentenced defendant

20   to 168 months in prison.     (See id. at 15-16.)
21             On November 1, 2014, the United States Sentencing

22   Commission (“Commission”) promulgated Amendment 782 to the

23   Guidelines, which reduced the offense level of many drug crimes

24   listed in the Guidelines by two levels.        United States v.

25   Mitchell, No. 112-CR-00199 LJO SKO, 2016 WL 4161082, at *1 (E.D.

26
          2
27             The court declined to adopt a two-level sentencing
     increase recommended in the PSR for possession of a firearm.
28   (Oct. 1, 2012 Tr. at 7.)
                                     2
      Case 2:11-cr-00119-WBS Document 295 Filed 05/23/17 Page 3 of 4


1    Cal. Aug. 4, 2016).    The Commission voted to make Amendment 782

2    retroactively applicable.     See U.S.S.G., sup. App’x C, amend. 788

3    (2014); United States v. Navarro, 800 F.3d 1104, 1107 (9th Cir.

4    2015).    Under Amendment 782, defendant’s offense level is 33,

5    which, in conjunction with her criminal history category of III,

6    results in an amended Guidelines sentencing range of 168 to 210

7    months.

8               Defendant now moves for an unspecified sentence

9    reduction pursuant to Amendment 782 and section 3582(c)(2).

10   (Def.’s Mot.)    The government opposes defendant’s Motion.

11   (Gov’t’s Opp’n (Docket No. 275).)

12              Section 3582(c)(2) allows the court to “reduce the term

13   of imprisonment” of a defendant who was “sentenced . . . based on

14   a sentencing range that has subsequently been lowered by the

15   Sentencing Commission.”     18 U.S.C. § 3582(c)(2).      “Any reduction”

16   pursuant to section 3582(c)(2) “must be consistent with

17   applicable policy statements issued by the Sentencing

18   Commission.”    Dillon v. United States, 560 U.S. 817, 821 (2010).

19   Guidelines section 1B1.10 (“section 1B1.10”), which sets forth

20   the Commission’s policy statements, provides that except where a
21   defendant was sentenced below her Guidelines range “pursuant to a

22   government motion to reflect the defendant’s substantial

23   assistance to authorities,” a court may “not reduce [a]

24   defendant’s term of imprisonment under 18 U.S.C. 3582(c)(2) . . .

25   to a term that is less than the minimum of [her] amended

26   guideline range.”     U.S.S.G. § 1B1.10(b)(2).
27              Defendant’s sentence of 168 months is already at the

28   minimum of her amended Guidelines range.        That sentence was not
                                         3
      Case 2:11-cr-00119-WBS Document 295 Filed 05/23/17 Page 4 of 4


1    determined pursuant to a government ‘substantial assistance’

2    motion.   Reducing defendant’s sentence under section 3582(c)(2),

3    therefore, would be inconsistent with section 1B1.10.             Because

4    the court may not grant a sentence reduction under section

5    3582(c)(2) where such reduction would be inconsistent with

6    section 1B1.10, the court must deny defendant’s Motion.

7               IT IS THEREFORE ORDERED that defendant’s Motion for a

8    sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) be, and the

9    same hereby is, DENIED.

10   Dated:    May 23, 2017

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         4
